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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                        District
                                                  __________     of Columbia
                                                              District of __________


                    Jesus M. Christian et al.                     )
                             Plaintiff                            )
                                v.                                )      Case No.   1:24-cv-00304
               Uber Technologies Inc. et al.                      )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiffs Jesus M. Christian, Individually and as Personal Representative of the Estate of Carlos Enrique          .
         Christian Rey, and Camila Alexia Selman Troncoso

Date:          04/24/2024                                                                  /s/ Kevin P. Crenny
                                                                                            Attorney’s signature


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